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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JILL BABCOCK, et al.,
                                              Case No. 2:22-cv-12951
             Plaintiffs,
                                              HON. MARK A. GOLDSMITH
 v.


 STATE OF MICHIGAN, et al.,

             Defendants.
                                  /

                             JOINT STATEMENT
                         SUMMARY OF INITIAL RESULTS


       The parties jointly submit this Joint Statement Summary of Initial Results

pursuant to the Court's April 19, 2023 Order Following Status Conference (Dkt.

36).

       On April 27, 2023 counsel for all parties met via zoom with the facilitator,

former United States District Court Magistrate Judge Mona Majzoub. Magistrate

Judge Majzoub raised several issues for discussion, and set an in-person meeting

among all counsel on Friday May 12, 2023, beginning at 9:30, potentially lasting

the full business day.

       With regard to the effect of facilitation process on the proposed schedule,

and points of disagreement and agreement, the parties state:


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(1) All parties will be discussing facilitation process questions at the May 12, 2023

meeting with Magistrate Judge Majzoub and will be better able to discuss areas of

agreement and disagreement and to supplement this report following the initial

session and at the rescheduled Status Conference on May 15, 2023.

(2) As to proposed deadlines, all parties think that a better assessment can be made

at the 60-day mark, although plaintiffs do not currently think there is any reason to

change the deadlines due to the facilitation process, and one or more of the

defendants are still evaluating the impact of the April 28, 2023 First Amended

Complaint on the previously suggested schedule (and the State has not yet

concurred to any discovery deadlines pending the outcome of an anticipated newly

filed Motion to Dismiss).

Respectfully Submitted,

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                        LOCAL RULE CERTIFICATION

      I, Michael W. Bartnik, certify that this document complies with Local Rule

5.1(a), including: double-spaced (except for quoted materials and footnotes); at

least one-inch margins on the top, sides, and bottom; consecutive page numbering;

and type size of all text and footnotes that is no smaller than 10-1/2 characters per

inch (for non-proportional fonts) or 14 point (for proportional fonts). I also certify

that it is the appropriate length. Local Rule 7.1(d)(3).




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